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                                                                                                                            mwe.com

                                                                                                                 Ethan H. Townsend
                                                                                                                     Attorney at Law
                                                                                                             ehtownsend@mwe.com
                                                                                                                   +1 302 485-3911


June 1, 2021

VIA E-FILING

The Honorable Maryellen Noreika
District Court of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Unit 31, Room 4124
Wilmington, Delaware 19801-3555

Re:      Official Committee of Unsecured Creditors of Cred, Inc. v. James Alexander, No. 21-cv-417

Dear Judge Noreika:

We write on behalf of the Cred Inc. Liquidation Trust, as successor-in-interest to the Official Committee
of Unsecured Creditors of Cred Inc. (the “Trust”) to supplement the motion for contempt by advising the
Court of Defendant James Alexander’s conduct during recent deposition sessions. Specifically, the
Trust continued the February 9, 2021 deposition of Mr. Alexander on May 13, 2021, May 14, 2021 and
May 19, 2021.1 Alexander refused to answer questions, constantly complained that the Trust was acting
in “bad faith,” and repeatedly claimed that he had not had time to prepare to answer questions about his
cryptocurrency transactions. These deposition sessions culminated in Alexander asserting the Fifth
Amendment in response to questions about Quantcoin and whether he stole 800 Bitcoin, refusing to
answer the question “are you in the United States,” and abruptly exiting the Zoom deposition following
a direction from his counsel to answer the pending question about his current whereabouts.
Accordingly, we respectfully request that the Court consider this information in connection with the
pending motion for contempt, to issue a bench warrant, and to force Alexander to provide the Trust and
this Court with the information that the Honorable John T. Dorsey of the Bankruptcy Court for the
District of Delaware ordered him to provide.

1.       Procedural Background

On February 5, 2021, the Bankruptcy Court entered an Emergency Order requiring Alexander to sit for a
deposition and provide comprehensive discovery to the Trust and the Debtors. (See In re Cred Inc., et
al., No. 20-12836, ECF No. 486) (the “Emergency Order”). The Emergency Order compelled
Alexander to “sit for [a] deposition at the committee and debtors’ time, whatever time of their
choosing.” (ECF No. 645, Ex. G)(the “Feb. 5, 2021 Hr’g Tr.”)2 The Emergency Order also required
Alexander to turn over the Debtors’ cryptocurrency, to submit a detailed declaration, and to comply with

1
    Each deposition session was for a limited amount of time due to Alexander’s purported health issues.
2
 The February 5, 2021 hearing transcript is attached as Exhibit A. The February 9, 2021, May 13,
2021, May 14, 2021, and May 19, 2021 deposition transcripts are attached under seal as Exhibits B-E.
                                1007 North Orange Street 4th Floor Wilmington, DE 19801 Tel +1 302 485 3911 Fax +1 302 351 8711

                                US practice conducted through McDermott Will & Emery LLP.
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comprehensive discovery. (Id.) Nearly four months later, Alexander has yet to fulfill his obligations
under the Emergency Order.

Between February 5, 2021, and March 15, 2021, the Trust issued interrogatories and discovery requests
authorized by the Emergency Order, sent three discovery letters identifying transactions for Alexander
to explain pursuant to the Emergency Order, and proactively engaged with Alexander’s counsel to
obtain the information as quickly and efficiently as possible. Despite these efforts, Alexander’s
obstructive behavior continued and refused to provide substantive answers explaining the transactions
reflected on his account statements in contravention of the Emergency Order. As a result, the Trust filed
an Emergency Motion for Contempt on March 15, 2021. (ECF No. 643) (the “Contempt Motion”).

2.       The May 19, 2021 Deposition Session Revealed at Least One Previously Undisclosed
         Coinbase Account

The location of the cryptocurrency that Alexander stole from Cred has been of particular interest to the
Trust. Throughout this painstaking discovery process, Alexander has been particularly evasive
concerning cryptocurrency transactions and his cryptocurrency accounts and wallets. Alexander first
represented he held one Coinbase account, then disclosed two Coinbase accounts, and it was not until
the May 19, 2021 deposition that it became clear that he has yet another Coinbase account. Alexander
also held a LedgerLive wallet, which held the cryptocurrency Alexander took from Cred. The
cryptocurrency transactions in the LedgerLive wallet are still a mystery because Alexander has not
provided documentation or meaningful explanations about the origin or destination of many of those
transactions.

During a recorded Zoom video call on February 6, 2021, Alexander asserted that he held only one
Coinbase account and “[did] not personally have access to another Coinbase account.” (See Recorded
Zoom Call at 1:50:45.) That statement was false. Alexander subsequently provided Coinbase account
statements for two Coinbase accounts.

It was not until the fourth deposition session on May 19, 2021, that Alexander revealed that he holds at
least one more previously undisclosed Coinbase account. The Trust examined Alexander on the various
transactions in his LedgerLive wallet. The Trust focused on transactions in the LedgerLive wallet which
were not reflected in Alexander’s Coinbase records. These transactions were of interest because the
origin and destination of these transactions are unknown. Alexander was generally obstructive when
asked about these transactions. However, perhaps errantly, he revealed information about one
transaction after looking at his iPhone, which established that he has another previously undisclosed
Coinbase account:

         Q.    The question was about the September 17th, 2020 transaction of $89,995.92 going
               out of your Ledger Live. It’s Line Item 47. Where were you sending that money?

         A.    It came from Coinbase to the Ledger wallet.

         Q.    This is an out transaction. So this is [USDC] from the Ledger Live wallet out to
               somewhere else and I want to know where it went.
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        A.     From Ledger to Coinbase.

        Q.     One moment. Which Coinbase account did this go to?

        A.     Coinbase wallet address ending

        Q.     What is the e-mail account on that Coinbase account?

        A.     I’m on the mobile app here. It’s only showing user name – oh. Here it is. It’s the
               Level Capital.

        Q.     How many Level Capital Coinbase accounts do you have?

        A.     Just one to my recollection.

(Ex. E, May 19, 2021 Dep. Tr. at 83-84.)

At this point, the Trust showed Alexander the Coinbase account records he produced and asked him to
identify the $89,995.52 transaction. Alexander admitted that it was not in the Coinbase records he
provided, and stated: “I have a record of it right here on my mobile app.” (Id. at 86.) The Trust
repeatedly asked Alexander if he had any Coinbase accounts other than the two he provided to which
Alexander answered “not that I’m aware of.” (Id.) The Trust continued to press the issue concerning
this Coinbase account with a wallet address         , which Alexander had not previously disclosed:

        Q.     You produced account records for two Coinbase accounts. On neither of
               those records is this $89,995 transaction reflected.

        A.     No. I agree. I don’t see it, but I see it on my app—my mobile app. I
               don’t have an answer for you.

(Id. at 85.)

That was not the only transaction that Alexander revealed was sent to a previously undisclosed Coinbase
account. A November 16, 2020 $50,000 transaction apparently went to either the same or another
undisclosed Coinbase account. (Id. at 96 (“Joe, same problem, I’m seeing it here in my mobile app and
I’m not seeing that here [in the Coinbase records Alexander produced”).) When asked additional
questions about this previously undisclosed Coinbase account, Alexander took it upon himself to object:

         Q.    So there are other—there are Coinbase account records from an account
               which you control that have not yet been provided; is that what you’re
               saying?

         A.    No. That’s not what I’m saying at all. I’m showing on my mobile app
               here the transaction and it’s not reflected on the statement. I really don’t
               appreciate the way you twist my words around or maybe you were just
               misunderstanding me.
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         Q.       Maybe, because I’m looking at the Coinbase records you provided that is
                  supposed to be the full and complete set and you’re identifying another
                  Coinbase Record which are not—

         A.       Okay. Well, I just object to the manner in which you’re talking to me at
                  this stage—

         Q.       That’s not how this works –

         A.       - and I –

         Q.       Your lawyer can object. You can’t object. That’s not how this works.
                  On December 30th, 2020 there is a transaction for $39,995 USDC coming
                  in. It is on the second page of Coinbase 2.

         A.       I need a break, Joe. I’m not feeling too well, so is this a good juncture to
                  pause for a moment?

         Q.       Sure. Why don’t you take – you want to make [it] ten minutes, come
                  back at 3:31.

(Id. at 96-97.)

The Trust has exhausted its options to attempt to obtain meaningful compliance from Alexander, who is
obviously playing a shell game with his cryptocurrency accounts. It is still unknown how many other
cryptocurrency accounts Alexander may be hiding. It is also notable that prior to this May 19, 2021
deposition session, Alexander had disclosed one LedgerLive wallet, two Coinbase accounts, and a
Bittrex account he claims he cannot access. Alexander opened the LedgerLive wallet on July 1, 2020
when he deposited the proceeds of sales of Cred’s Bitcoin. The two Coinbase accounts he disclosed
contained only a trace amount of cryptocurrency before he began depositing Cred’s Bitcoin and the
proceeds thereof in mid-late 2020. To take Alexander at his word that these are his only cryptocurrency
accounts and wallets would mean that he personally held only a trace amount of cryptocurrency prior to
mid-2020. This is despite the fact that he has been in the cryptocurrency industry for years and was the
Chief Capital Officer of Cred who was personally responsible for developing complex trading strategies
involving tens of millions of dollars’ worth of customer cryptocurrency. It is simply not credible.

3.       Alexander Was Obstructive and Non-Compliant During the Deposition

During each deposition session, Alexander was willing to speak at length about other executives at Cred
and what he claimed to be “mismanagement,” but when asked questions about a series of “cash
withdrawals” from his bank accounts and his cryptocurrency transactions he was obstructive, evasive,
and claimed to be short of breath. He repeatedly asked for breaks and more time to prepare. The Trust
granted him these luxuries, but nevertheless Alexander remained non-compliant and feigned surprise
that the Trust would be asking questions about particular large cryptocurrency transactions, each of
which were in excess of $20,000.
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During the May 13, 2021 deposition session, the Trust asked Alexander a series of questions about
transactions in his Ledger Live wallet. The Emergency Order required Alexander to explain all of these
transactions in detail in February, there has been a prior deposition session in February, and repetitious
letter writing on the subject of Alexander’s cryptocurrency transactions and the current location of the
cryptocurrency he stole from Cred. Despite months of notice that the Trust would be asking about these
transactions, Alexander complained and argued that the Trust should provide Alexander with more data
or lend its consultants to him to help him answer questions. (See Ex. C, May 13, 2021 Dep. Tr. at 88
(“A.…But I don’t know what that wallet address is. If you could provide me with some more detail I,
you know, would be more than happy to respond. That’s as much as I can tell you today. Q. Try another
transaction. The issue with, James, these are your wallets, your transactions. So the detail is going to be
with you.”); id. at 92 (“A. Yeah, I tried to give you as much color of what I think it is, Joe. I don’t
know. As I said, if you could provide me with more data from your consultants, we could try and break
the transactions down chronologically, or some way that we can track them . . . Q. We are dealing with
the data you provided. The dat[a] of the transaction[s] you executed. The details are going to be with
you not with us.”) Alexander argued that the Trust or its consultants were obliged to help him answer
questions about the cryptocurrency transactions he executed using Cred’s cryptocurrency. (See, e.g., Ex.
D, May 14, 2021 Dep. Tr. at 16 (“I would also recommend that you engage with your consultants to
provide any additional data that might be helpful to track these.”).)

Before the next deposition session on May 14, 2021, the Trust provided Alexander with copies of the
three cryptocurrency account records that he had previously produced. The transactions at issue were the
subject of the February 9, 2021 deposition, the May 13, 2021 deposition session, written discovery
requests, three discovery letters, and countless emails. Nevertheless, during the May 14, 2021
deposition session, Alexander feigned ignorance that he would be asked questions about these
cryptocurrency transactions. In an obvious effort to delay answering questions, Alexander claimed there
was further “research” that apparently he had not yet performed:

       Q:      Okay. So there is work that you can do to figure out what these transactions are
               for, who sent you the money, and for what reason, and you can give us those
               answers in the future?

       A.      I can look into it. I can research it. I don’t know if I’ll have an answer for you or
               not. If I do have an answer, I will provide it to you.

       Q.      On September 11, 2020, line 33, there’s a $100,000 transaction out. Where were
               you sending $100,000?

       A.      Joe, I don’t recall. I, you know—If you’d given me some time to prepare for
               this—these questions, I could have, but just by putting a ledger in front of me
               with a wallet reference, I’m not—I’m not going to be able to tell you.

       Q.      So these are your documents that you provided to us in response to an order that
               required you to give us all transaction data related to these accounts, related to the
               Coinbase records, and related to the cryptocurrency. You knew these questions
               were coming, didn’t you, that we were going to ask you about these transactions?
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               Mr. Grivner: Object to the form.

       A.      I did not, Joe.

(Id. at 10.) The Trust reminded Alexander of the following: “[t]he emergency order requires him to
explain [all of these transactions]. Mr. Alexander was well aware that the Trust would be asking
questions about these transactions. These have been at issue for the past five months. It is not a surprise
that we would be asking about transactions in excess of hundreds of thousands of dollars in and out of
an account that was funded entirely by Cred Capital funds—or Cred Inc. funds, better said.” (Id. at 18.)

Thereafter, counsel for Alexander stated that Alexander would research these transactions if the
deposition was adjourned: “Mr. Evans, as we discussed, we don’t object to keeping the deposition open
in light of the testimony that was proffered today … Mr. Alexander has represented that apparently
significant research needs to be done with respect to find answers to certain of your questions. We will
continue the dialogue with respect to the appropriate time, but we do not object to keeping the
deposition open.” (Id. at 31.) The parties agreed to reconvene the deposition on May 19, 2021, so that
Alexander would have sufficient time to conduct the “research” he claimed he heeded to answer
questions about his own cryptocurrency transactions.

Any “research” that Alexander conducted did not make him any more forthcoming during the May 19,
2021 deposition session. Alexander continued to feign ignorance about the cryptocurrency transactions.
Alexander argued and complained throughout the deposition:

       Q.      Joe, as a general comment, we’ve been through this and it would be a lot more
               productive and I could be more helpful if you would highlight specific questions
               and I’d have time to prepare responses for. You know, you’ve chosen random
               transactions for the second time in since the last deposition and this deposition
               and it’s not fair to me to be put on the spot trying to identify transactions where
               there are so many and so many documents.”

       Q.      Okay. These –

       A.      So I –

       Q.      These are the same questions –

       A.      Like to –

       Q.      These are the same questions we’ve been asking since February, okay, and we’ve
               asked this now this is the fourth day of depositions and you’re telling me its unfair
               to answer these questions. There’s a court order requiring you to answer these
               questions –

       A.      Joe, there are thousands of pages of documents, okay –

       Q.      There are three pages
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       A.      - there are dozens –

       Q.     There are three –

       A.     - if not hundreds of do –

       Q.     No. I’m not arguing with you. On September 11th, 2020, there’s a $100,000
              transaction going out. What is the purpose of that transaction?

       A.     I’ve answered the question the question to the best of my ability given the limited
              time I’ve had to prepare and the pressure that you’re putting me under to
              randomly ask one day – to provide specific details about one data point among
              many thousands.

       Q.     There are – these are not –

       A.     Quite easily have prepared –

       Q.     I told you – excuse me. There’s no question pending, okay. These are
              transactions that are in your Ledger Live account that are not reflected in the
              Coinbase accounts that you provided. You were required to produce all
              cryptocurrency transactions, all cryptocurrency wallets, all asset account
              statements, and other records reflecting your personal assets, as well as the
              trading, and sale, the ultimate liquidation of Cred’s cryptocurrency. We are going
              over very specific transactions. This is not – this isn’t a surprise James. These
              were all on your document request in February. And that transaction that I just
              asked about, $100,000 is a new transaction, so I’ll repeat the question again. On
              September 11th, 2020, there is a $100,000 transaction of USDC going out, what is
              the purpose of that transaction.

       A.     I’ve answered that question.

       Q.     What’s the answer?

       A.     I’ve already answered the question. Please refer to my previous response.

(Ex. E, May 19, 2021 Dep. Tr. at 62.)

Each question about cryptocurrency transactions of tens and hundreds of thousands of dollars were met
with the same complaints and obfuscation. With respect to a number of other cryptocurrency
transactions, Alexander claimed that the “out” transaction would be followed by an “in” transaction
because it was subject to a decentralized finance or “defi” contract. There has been no substantiation
whatsoever that these transactions were subject to any defi contract. Nevertheless, when the Trust
identified “out” transactions and asked Alexander to identify the “in” transaction in the LedgerLive
wallet, Alexander was unable to do so, resorted to accusing the Trust of acting in bad faith, and
otherwise refused to answer. (See id. at 74 (“Q. Are you able to identify for me on the Ledger Live
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account records that you provided to us in February the transaction which you claim shows that a
$100,000 plus interest came back into this account from this Zapper DeFi transaction? A. Asked and
answered. Q. No, it wasn’t. A. I disagree.”); id. at 76 (“Q. Which of the transactions d[o] you claim the
$34,925 of Cred Capital’s funds came back to Cred Capital plus interest? A. I’m—I’m unable to
answer that question. I don’t have sufficient time to prepare a response during a live deposition.”); id. at
79-80 (“Q. Can you identify for me the out placement for which this transaction is the in placement? A.
Not in a live deposition as I – it’s not realistic.”). In response to questions about cryptocurrency
transactions, Alexander accused Trust counsel of “bad faith” on eight separate occasions. (See Ex. D,
May 14, 2021 Dep. Tr. at 32; Ex. E, May 19, 2021, Dep. Tr. at 64, 65, 66, 77, 96, 106.)

Alexander continuously demanded that the Trust lend its consultants to Alexander to help him answer
the questions about his own cryptocurrency transactions and said that he was not prepared to answer
questions about certain cryptocurrency transactions. The Trust told Alexander repeatedly that it was his
obligation to answer these questions and his obligation to do so has been outstanding since February 5,
2021. (See, e.g., id. at 103-105 (“There is an emergency order requiring you to explain every transaction
in meticulous detail, every single one. That order’s been outstanding February . . . You’re coming here
today claiming for the – this is the fourth time we’ve done this . . . We’re asking you questions about
[these transactions] and you’re saying you’re not prepared to answer them. That’s not sufficient James.
It’s not sufficient and [these questions] are not a surprise. We’re keeping this deposition open. This is
not complete. You’re not prepared to answer these questions apparently or you don’t want to answer the
questions because you asked for more time, your counsel asked for more time. You asked for more time
to prepare and do research. And here we are again and you’re still saying you don’t have the
information or data that you need - - A. Joe, about half of what you said is true -- Q. -- this is
information that you are required to provide to us. We don’t work for you. We are not your consultants
– A. Joe - - Q. – we don’t have to answer these questions. You are required to provide this information
to us, so we’re keeping this deposition open. The information has to be provided and you had to
produce it in February and we find out today there’s another Coinbase account with records that we
don’t have yet three months after the emergency order.”)

Although Alexander claimed repeatedly that there were “hundreds” of transactions and “thousands” of
data points, the Trust actually only asked about a total of ten transactions from the Ledger Live account
during these deposition sessions. (See Ex. D, May 14, 2021 Dep. Tr. at 67.) Alexander produced only
two .pdfs of Coinbase records and one excel file of LedgerLive wallet account records. Each question
the Trust asked were about large transactions in excess of $20,000 into and out of Alexander’s
LedgerLive wallet or Coinbase accounts.3

Alexander also claimed to be experiencing health issues that required multiple breaks, and requested that
the Trust limit the duration of each day’s deposition session. Alexander testified expansively about
mismanagement at Cred by other executives without being prompted by additional questions (see, e.g.,




3
 This LedgerLive wallet excel file contains a total of 71 transactions, many of them are for de minimus
amounts for which no questions were asked.
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Ex. D, May 14, 2021 Dep. Tr. at 33-53), but when confronted about cryptocurrency transactions and
cash withdrawals, he suddenly became afflicted with health issues.4

4.       Alexander’s Useless Responses to Discovery Requests

Alexander’s obstructive behavior extends to written discovery. For four months, the Trust has attempted
to obtain a fulsome declaration addressing the requirements of the Emergency Order. Alexander’s most
recent submission, the Third Supplemental Declaration of James Alexander (the “Third Supplemental
Declaration”)5 is essentially worthless because instead of providing answers about what each transaction
was for, he instead provided multiple options for most transactions, including that the recipient and
reason for the transaction is “unknown.” Alexander doubled-down on these insufficient responses by
testifying during his testimony that those were his final responses “as of today.” (Ex. E, May 19, 2021
Dep. Tr. at 111.)

In its Discovery Requests and three written discovery letters, the Trust identified a series of questionable
transactions from one of Alexander’s checking accounts ending             many of which are identified in
the bank records as “cash withdrawals.” In the Third Supplemental Declaration, Alexander finally
addressed these transactions by stating a series of two to five options for each transaction including
some combination of payments to consultants, payments for salary, payments for reimbursement, or
“doesn’t know.” (See Ex. F, Third Supp. Dec. at 4-5.) As one example, regarding a $5,000 cash
withdrawal in November of 2020, Alexander responded that the withdrawal was “either payment to
Delon de Metz for consulting services, expense reimbursement myself [sic] or unknown.” (Id at 6.) He
also referred to a number of cash withdrawals as “either my salary or unknown.” (See, e.g., id. at 5
(“The $10,000 cash withdrawal on November 27, 2020 was either my salary or unknown.”); see also id.
at 6 (“The $10,000 cash withdrawal on February 3, 2021 was either expense reimbursement or my salary
or unknown.”) Out of 21 identified transactions, Alexander was only able to provide a definitive answer
regarding six. (Id at 4-6.) Alexander confirmed that these responses were his final answers “as of
today.” (Ex. E, May 19, 2021 Dep. Tr. at 110-111 (“Q. Your descriptions of cash withdrawals for each
of these cash withdrawals identified two, or three, or four different purposes that this transaction might
be for. I’m asking you, do you have any further information today than you had on May 10th [the date of
the declaration] or are these your final answers. A. Those are the answers as of today.”))

These answers are insufficient. Although Alexander purportedly operated Cred Capital as the sole
executive and director, after four declarations and four months of efforts by the Trust, he remains

4




5
    A copy of the Third Supplemental Declaration has been attached as Exhibit F and filed under seal.
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unwilling to identify the purpose and current location of “cash withdrawals” and other significant
transactions from his bank accounts.

5.      Alexander Asserted His Fifth Amendment Privilege Regarding a Massive Theft

Finally, Alexander asserted his Fifth Amendment right, but only to questions about whether he stole 800
Bitcoin from Cred in connection with the “Quantcoin” fraud. Shortly thereafter, he refused to answer
whether he was currently located in the United States and exited the deposition while it was pending.

When the Trust asked about Quantcoin, Alexander immediately asserted the Fifth Amendment and
refused to answer. (See Ex. E, May 19, 2021 Dep. Tr. at 111 (“Q. When did you first learn of the
opportunity for Cred to invest in Quantcoin? A. On advice of counsel, I assert my Fifth Amendment
privilege to respond to that question.”)) Alexander refused to answer any questions about Quantcoin
and asserted the Fifth Amendment throughout this line of questioning apparently because he fears
criminal prosecution:

        Q.      You’re asserting your Fifth Amendment Privilege because you fear criminal
                prosecution if you answer these questions? Is that so?

                Mr. Sparks:   James, if you’re asserting your Fifth Amendment Privilege, please
                              say so for the record.

                The Witness: Yes.

(Id. at 113.)

Alexander asserted the Fifth Amendment in response to every question regarding the theft of 800
Bitcoin from Cred, including the following:

        Q.      800 Bitcoin went missing from Cred in connection with the Quantcoin
                situation. Do you have that 800 Bitcoin?

        A.      On advice of counsel, I assert my Fifth Amendment privilege in response
                to that question.

        ...

        Q.      Cred lost 800 Bitcoin in connection with Quantcoin. Are you aware of the
                current location of that 800 Bitcoin or the proceeds thereof?

        A.      On advice of counsel, I assert my Fifth Amendment privilege in response
                to that question.

        ...
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       Q.      Did you take the 800 Bitcoin or any proceeds thereof for yourself, your
               family, or any consulting company, corporate entity, or any other person?

       A.      On advice of counsel, I assert my Fifth Amendment privilege in response
               to that question.

       Q.      Did you steal the 800 Bitcoin?

       A.      On advice of counsel, I assert my Fifth Amendment privilege in response
               to that question.

       ...

       Q       You purchased your house on February 11th 2020. Did you use any of the
               proceeds of the Quantcoin transaction to purchase your house?

       A.      On advice of counsel, I assert my Fifth Amendment privilege in response
               to that question

       ...

       Q.      Do you own or have access to any cryptocurrency accounts or wallets that
               hold the proceeds of the 800 Bitcoin that was lost in connection with the
               Quantcoin transactions?

       A.      On advice of counsel, I assert my Fifth Amendment privilege in response
               to that question.

       Q.      Do you own, control, or have access to any bank accounts in the United
               States or anywhere in the world that contain the proceeds of the 800
               Bitcoin that were lost in connection with Quantcoin transactions?

       A.      On advice of counsel, I assert my Fifth Amendment privilege in response
               to that question.

(Id. at 111-18.)

Following this line of questioning, Alexander claimed that he was feeling unwell. The Trust asked
Alexander repeatedly if he was currently located in the United States. He refused to answer the
question. When his counsel directed him to answer the question, he exited Zoom while the question was
pending:

       Q.      Are you in the United States? It's a yes or no question. Are you in the
               United States?

       MR. SPARKS:            James, you have to answer the question.
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       (Whereupon, the witness exited the deposition.)

(Id. at 119-120.)

Alexander’s conduct during the deposition sessions was obstructive and evasive. He failed to answer
questions and exited the deposition while a question was pending. This is the latest in a long line of
Alexander’s refusals to comply with the Emergency Order and to respect the judicial process.

6.     The Pending Contempt Motion

For nearly five months, the Trust has attempted to obtain the required information through discovery
requests and has further enumerated transactions at issue for Alexander to address individually.
Alexander’s continued evasive behavior and escalating hostility towards the lines of questions required
by the Emergency Order suggest that further efforts by the Trust to obtain Alexander’s compliance
would be futile. Alexander has consistently refused to provide the required information.

The Trust continues to spend an exorbitant amount of time, money, and effort due to Alexander’s
misconduct. As this Court knows, these recent deposition sessions followed Alexander claiming he was
short of breath during a February 19, 2021 deposition and filing for personal bankruptcy during the
break, motion practice in the Northern District of California Bankruptcy Court in which that Court lifted
the automatic stay so that the Trust could obtain Alexander’s compliance with the Emergency Order, the
filing of this Contempt Motion, and Alexander’s refusal to participate in the deposition while the
Contempt Motion was pending. When the Trust was finally able to continue these depositions,
Alexander remained non-compliant and obstructive. It is clear that Court intervention is required finally
to coerce Alexander to comply.

The Trust respectfully requests that this Court hold Alexander in civil contempt and to issue a bench
warrant for his arrest so that he will be incarcerated until he complies with the Emergency Order,
including, at a minimum that he simultaneously submits the following under seal to the Court and the
Trust:

       (1)     A comprehensive declaration which complies with the Emergency Order that
               explains each transaction, including (a) a detailed explanation (including the
               sender, recipient, and explanation) of each cryptocurrency transaction in all
               Coinbase accounts, Ledger Live wallets, and any other cryptocurrency wallet or
               account that he owns or has access to; and (b) a detailed explanation (including
               the sender, recipient, and explanation) for each “cash withdrawal” and other
               transaction in excess of $500 in Alexander’s Wells Fargo accounts
                      and JP Morgan Chase accounts.

       (2)     Complete records for each Coinbase account, including the unknown account
               ending in     ;

       (3)     Complete records of all cryptocurrency accounts and wallets in Alexander’s
               custody or control;
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       (4)     Complete account statements for all bank accounts owned or controlled by
               Alexander, including those held in foreign countries; and

       (5)     Following the satisfactory completion of (1)-(4), that Alexander sit for a
               deposition.

Following the completion of these orders, the Trust requests that each party file a letter detailing their
position on whether Alexander has complied with the Emergency Order and whether he should be
released from custody.

                                                              Respectfully submitted,

                                                              /s/ Ethan H. Townsend

                                                              Ethan H. Townsend (#5813)

cc:    David R. Hurst
       Timothy W. Walsh
       Andrew B. Kratenstein
       Darren Azman
       Joseph B. Evans
